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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
VALERO ENERGY, LTD., §
§
Plaintiff/Garnishor §
VS. § MISCELLANEOUS ACTION NO. 4:22-MC-
§ 00104
WELLS FARGO BANK, N.A., [RELATED CASE NO. 4:21-cv-02034]
Garnishee, :
VS. §
CLYDE BERGEMANN US, INC. and
CLYDE BERGEMANN POWER GROUP §
AMERICAS, LLC §
§

Defendants/Judgment-Debtors.
WRIT OF GARNISHMENT

To Wells Fargo Bank, N.A., Garnishee:

On July 22, 2021, the United States District Court for the Southern District of Texas issued
a judgment in favor of Garnishor Valero Energy, Ltd. (“Valero”) and against Judgment-Debtors
Clyde Bergemann US, Inc. and Clyde Bergemann Power Group Americas, LLC (formerly known
as Clyde Bergemann Power Group Americas, Inc.) in Civil Action No. 4:21-cv-02034. That
judgment was in the amount of $1,066,710.45 for breach of warranty; $360,498.32 for legal fees,
expenses, and expert fees; $200,016.83 for costs of arbitration; and $158,399.16 in pre-award
interest, with simple interest accruing on the foregoing amounts at the rate of five (5) percent per
annum from March 28, 2021, until paid.

Valero has properly sought this Writ of Garnishment against you, Wells Fargo Bank, N.A.

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Accordingly, within 21 days after you are served with this Writ, you are ORDERED to file an
answer with this Court and serve a copy of said answer on Valero.

In your answer, you must state under oath: (1) what, if anything, you are indebted to
Judgment-Debtors and were when this Writ was served upon you; (2) what effects, if any, of
Judgment-Debtors you have in your possession and had when this Writ was served upon you; and
(3) what other persons, if any, within your knowledge, are indebted to Judgment-Debtors or have
effects belonging to Judgment-Debtors in their possession.

You are further ORDERED not to pay to Judgment-Debtors any debt or to deliver to them
any effects, pending further order of this Court, without first retaining property in an amount
sufficient to satisfy and equal the maximum value of property or indebtedness that may be
garnished.

Your answer should be filed with the Court in Miscellaneous Action No. 4:22-MC-00104.
Your answer. should also be served on Valero’s counsel of record in Miscellaneous Action No.
4:22-MC-00104.

SIGNED at Houston, Texas, on this the AG tay of January, 2022.

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KEITH P. EFELISON

UNITED STATES DISTRICT JUDGE

 

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